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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF KENTUCKY
                              AT LOUISVILLE

                                ELECTRONICALLY FILED


       UNITED STATES OF AMERICA                                  PLAINTIFF

       v.                    CRIMINAL ACTION NO. 3:16-CR-00082-7-DJH

       JOLIE JOHNSON et al.                                  DEFENDANTS


                   DEFENDANT JOLIE JOHNSON’S MOTION TO
                        SUPPRESS WIRETAP EVIDENCE
             Federal investigators knew next to nothing about Jolie

       Johnson until they listened to her talking on the phone to Ismael

       Gonzalez on May 6, 2016. (Records for WT 16-12 (first extension

       of wiretap on “Target Telephone 5”); see Attach. 6 at pg. 27,

       Sanders Affidavit VI at pg. 16 ¶ 19.) The authorities monitored this

       call because, three days earlier, this Court had approved a wiretap

       on Mr. Gonzalez’s phone. (Records for WT 16-12 (Sanders

       “Affidavit IV,” wiretap on “Target Telephone 5”), Order of May 3,

       2016; see Attach. 4 at pp. 49-54.) (See Table 1, “Wiretap Cross-
       Reference,” below.)

             The government sought permission to eavesdrop on

       Mr. Gonzalez because, in the words of DEA Special Agent Brian

       Sanders, “the interception of wire communications over
       [Mr. Gonzalez’s phone] … is the only available technique that has a
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     Wiretap Cross-Reference Table
                            U.S. Dist.
                 Sanders                 Application
     Attach. #              Ct. Misc.                      Telephone Owner    Target Telephone #   Named Interceptee
                 Affid. #                   Date
                            File No.
         1          I       WT 16-4       03/02/16         ESTRADA, Yamil     1 (502) 544-5296

         2          II       WT 16-6      03/08/16         ESTRADA, Yamil     2 (502) 415-9663

         3          III      WT 16-9      04/08/16         ESTRADA, Yamil     2 (502) 415-9663
                                                           RUIZ, Ricardo      3 (502) 418-1627
                                                           RUIZ, Ricardo      4 (305) 803-6618

         4         IV       WT 16-12      05/03/16         GONZALEZ, Ismael   5 (502) 708-6953


         5          V       WT 16-14      05/20/16         RUIZ, Ricardo      3 (502) 418-1627
                                                           RUIZ, Ricardo      4 (305) 803-6618

         6         VI       WT 16-12      06/01/16         GONZALEZ, Ismael   5 (502) 708-6953
                            (1st ext)
         7         VII      WT 16-12      06/13/16         GONZALEZ, Ismael   5 (502) 708-6953
                            (2nd ext.)                     GONZALEZ, Ismael   6 (502) 708-6785

         8         VIII       16-17       06/29/16         GONZALEZ, Ismael   7 (502) 408-2786
                                                           WATTS, Dante       8 (502) 408-7590



        reasonable likelihood of securing the evidence necessary to prove

        beyond a reasonable doubt” that Mr. Gonzalez was collaborating

        with Ricardo Ruiz to sell drugs in the Louisville area. (Attach. 4 at

        pp. 14, 30, Sanders Affid. IV at pg. 4 ¶ 5(i) and pg. 20 ¶ 38.) Agent

        Sanders contended that “normal investigative procedures” could

        not meet this objective, either because they “have been tried and




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       have failed,” or “reasonably appear unlikely to succeed if tried,” or
       “are too dangerous to employ.” (Id. at pg. 50, Order at pg. 2 ¶ (c).)

             This claim of necessity was not borne out by Agent Sanders’s

       affidavit, however. As explained below, law enforcement officers

       actually made almost no effort at all to investigate Mr. Gonzalez by

       ordinary measures before applying for a tap on his phone; rather,

       they rushed to obtain the wiretap just two weeks after first

       learning that he was doing business with Ruiz. Because the

       government had not exhausted normal investigative methods

       against Mr. Gonzalez, the wiretap was illegal, and this in turn

       requires the suppression of all recordings of Ms. Johnson on this

       wiretap, as well as all evidence (including subsequent wiretaps)
       derived from this unlawful surveillance.

       Background: The Estrada investigation (October 21, 2015 –
       March 2, 2016)
             The government sought permission for wiretaps eight times

       in a four-month period between early March and late June 2016.
       Some of these applications sought brand new wiretaps; others
       asked to extend wiretaps already in place.

             The wiretaps all trace their origin to the DEA’s investigation

       of Yamil Estrada, which began in earnest in late 2015. Agents

       began digging into Estrada’s activities following an October 2015

       seizure of drugs and cash from a Louisville house. (Attach. 1,

       records for WT 16-4 (Sanders “Affidavit I,” wiretap on “Target




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       Telephone 1”) at pg. 19, affid. at pg. 8 ¶ 16.) The suspect in that

       case told investigators that he had been purchasing two kilograms

       of heroin from Estrada every week since March 2015. (Id. at pg.

       20, Sanders Affid. I at pg. 9 ¶ 21.) In January 2016, the source

       notified DEA agents that Estrada had called him with instructions

       to meet to discuss a drug deal. (Id. at pp. 20-21, Sanders Affid. I

       at pp. 9-10 ¶ 24.) The source, equipped with a digital recorder,

       went to Estrada’s house on the appointed day; Estrada told him

       that he could supply “kilogram quantities of heroin, cocaine, and

       methamphetamine,” and gave the source a sample of

       methamphetamine to take away with him. (Id. at pg. 21, Sanders

       Affid. I at pg. 10 ¶ 27.) The methamphetamine and the recording

       of the meeting were duly delivered to the DEA agents.

       Coincidentally, federal investigators in New York City called

       Louisville DEA agents that same day with news that Estrada had

       made plans to deliver a large amount of cash to a courier in the

       next few days. (Id. at pp. 21-22, Sanders Affid. I at pp. 10-11
       ¶ 29.) An undercover DEA agent posed as the courier and met

       with Estrada, who handed the agent a bag with $60,000.00 in

       cash. (Id. at pg. 23, Sanders Affid. I at pg. 12 ¶ 37.) The

       confidential source completed two drug deals at Estrada’s house in

       the next few weeks, purchasing 6.5 ounces of heroin on

       February 9, 2016, and 7.0 ounces on February 18. (Id. at
       pp. 24-29, Sanders Affid. I at pp. 13-18 ¶¶ 42-61.)




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             Thus, by early March 2016, DEA agents had built a

       compelling case against Estrada. They had found a confidential

       source and had successfully organized two significant heroin

       transactions. They had executed an undercover operation and

       intercepted $60,000.00 in drug money from Estrada’s own hands.

       They had audio recordings of the drug deals; they knew the

       identities of two of Estrada’s closest lieutenants, both of whom had

       taken part in monitored drug deals (id. at pp. 25-29, Sanders Affid.

       I at pp. 14-18 ¶¶ 49-52, ¶¶ 56-60); they knew the telephone

       number of Estrada’s probable supplier in Mexico, and knew the

       dates and times of their phone conversations (id. at pp. 24, 30,

       Sanders Affid. I at pp. 13, 19 ¶¶ 41, 62); they knew the residence

       where Estrada conducted drug deals and occasionally stored

       narcotics, and were making plans to position a pole camera

       outside the location (id. at pp. 20, 21, 25, 43, Sanders Affid. I at

       pp. 9, 10, 14, 32 ¶¶ 21, 27, 49, 96). To be sure, agents had tried a

       few investigative methods without immediate success: trash
       searches had been unavailing thus far (id. at pg. 41, Sanders Affid.

       I at pg. 30 ¶ 91); agents had not yet planted a tracking device on

       Estrada’s car because they were unsure which automobile he was

       driving (id. at pg. 34-36, 40, Sanders Affid. I at pg. 23-25, 29

       ¶¶ 73-81, 88); and spot-check surveillance of Estrada’s residence

       had not yielded much. (Id. at pp. 35-36, Sanders Affid. I at pp.
       24-25 ¶¶ 74-82.)




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       (1)   The first wiretap application (Estrada, March 2, 2016)
             On March 2, 2016, the government applied for a wiretap on

       Estrada’s phone. (See Attach. 1.) After detailing the months of

       work already spent on the investigation, Agent Sanders’s affidavit

       addressed the foremost requirement for a wiretap request: proof

       that ordinary methods of scrutiny could not suffice by themselves

       to make the government’s case. See 18 U.S.C. § 2518(1)(c)

       (“necessity” requirement). Agent Sanders described an expansive

       law enforcement objective: not simply to bring Estrada down, but

       “to conclusively identify all of the co-conspirators, including

       alternate sources of supply, other couriers, distributors, or

       customers, or to define the full nature and scope of the DTO [drug

       trafficking organization].” (Attach. 1 at pg. 31, Sanders Affid. I at

       pg. 20 ¶ 64.) The government argued that no investigative

       technique other than eavesdropping could meet this objective. The

       confidential source, for instance, had secured much evidence

       against Estrada, but was “in no position to provide information

       regarding Estrada’s methods of purchasing and transporting large
       shipments of heroin, cocaine, and methamphetamine,” and had

       “no direct knowledge as to Estrada’s methods of laundering the

       proceeds derived” from drug sales. (Id. at pg. 32, Sanders Affid. I

       at pg. 21 ¶ 67.) Similarly, although an undercover DEA agent had

       penetrated Estrada’s organization, such operatives “would not

       likely be in a position to obtain a complete view of the members

       and operation of the DTO.” (Id. at pp. 34, 44, Sanders Affid. I at




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       pp. 23, 33 ¶¶ 71, 97.) Physical surveillance “would not achieve the

       government’s objectives,” Agent Sanders contended: detectives can

       watch (or a pole camera might record) conspirators gathering for

       meetings, “but the surveillance observations by themselves are

       generally insufficient to prove the purpose of the meetings and

       other activities.” (Id. at pg. 36, Sanders Affid. I at pg. 25 ¶ 83.)

       Although toll records for Estrada’s phone had already confirmed

       calls with the confidential source and a suspected drug supplier in

       Mexico, they “do[] not provide information as to the substance of

       the conversations, or any certainty as to the exact identities of the

       actual conversants of the captured telephone calls.” (Id. at pg. 38,

       Sanders Affid. I at pg. 27 ¶ 86.) In like fashion, Agent Sanders

       slighted such techniques as search warrants, tracking devices,

       trash searches, and administrative and grand jury subpoenas. (Id.
       at pg. 39-42, Sanders Affid. I at pp. 28-31 ¶¶ 87, 89-90, 93-94.)

             The Court granted the wiretap application. (See Order,

       Attach. 1 at pp. 56-62.) In retrospect, the process culminating in
       this first wiretap is notable for several reasons. One is the total

       lack of information in the first affidavit about Jolie Johnson or

       Ismael Gonzalez, or indeed about any defendant named in the

       Indictment. Even more significant, perhaps, is Agent Sanders’s

       strategy of defining an investigative goal of almost unlimited size –

       not just proof, but “conclusive” proof, against not only Estrada, but

       everybody connected to Estrada, and not just in Louisville, but




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       around the world; this convention reappears in all his later wiretap

       affidavits, even as the focus quickly and decidedly shifts away from

       Estrada’s operation. The habit of faulting ordinary investigative

       techniques for their natural limitations – toll records are wanting

       because they don’t reveal the substance of phone calls, for example

       – also recurs regularly in later affidavits. Indeed, many of the

       paragraphs in the first affidavit become boilerplate seen again and

       again in subsequent offerings. As discussed later in this

       memorandum, the tactic of juxtaposing cramped descriptions of

       investigative methods against a breathtakingly expansive law

       enforcement goal wrongly distorts the perspective on whether

       ordinary investigative techniques “reasonably appear to be unlikely

       to succeed if tried” – especially when detectives have made almost
       no actual effort to apply such techniques.

       (2)(A) The second wiretap application (Estrada, March 8, 2016)
             The first wiretap quickly came to nothing: Estrada had

       begun using a new phone. (Attach. 2, records for WT 16-6
       (Sanders “Affidavit II,” wiretap on “Target Telephone 2”), at pg. 13,

       affid. at pg. 3 ¶ 5(c).) (Law enforcement officers learned Estrada’s

       new phone number after the confidential source posted a note on

       Estrada’s door saying “call me,” which Estrada did a short time
       later. (Id. at pg. 30, Sanders Affid. II at pg. 20 ¶¶ 62-63.))

             Agent Sanders quickly returned with a new wiretap request.

       His affidavit repeated much of his first one, with the significant




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       addition of details regarding a drug transaction involving Estrada

       and a new suspect, Elio Lopez-Sarduy. (Attach. 2 at pg. 16,

       Sanders Affid. II at pg. 6 ¶ 12(b).) The new information was a

       tribute to traditional investigative methods. First, the confidential

       source arranged a meeting with Estrada to deliver payment for a

       prior drug deal. (Id. at pp. 30-31, Sanders Affid. II at pp. 20-21

       ¶¶ 64-69.) Shortly after the transaction, while the agents were

       keeping watch on Estrada’s home, an automobile arrived. (Id. at

       pg. 38, Sanders Affid. II at pg. 28 ¶ 91.) Agents traced the license

       number to Lopez-Sarduy’s daughter, and they immediately

       recognized Lopez-Sarduy’s name from a drug trafficking

       investigation the agents had pursued years earlier. (Id. at pg. 16,

       Sanders Affid. II at pg. 6 ¶ 12(b).) The next day, agents learned

       that city detectives suspected Lopez-Sarduy was storing

       methamphetamine at his house (ibid.), and Estrada’s toll records

       also listed at least four calls involving Lopez-Sarduy’s phone in
       recent weeks. (Id. at pg. 32, Sanders Affid. II at pg. 22 ¶ 71(B).)

             Agent Sanders’s second affidavit said nothing, though, about

       Jolie Johnson or any of the other named defendants. The Court
       granted the application on March 8. (Attach. 2 at pp. 50-55.)

       (2)(B) Estrada buys heroin from Ricardo Ruiz (March 30, 2016)
             In late March, agents listening in on Estrada’s phone heard

       several calls indicating that Estrada’s source in Mexico had

       suspended deliveries to Louisville. (Attach. 3 at pp. 23, 27,




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        Sanders Affid. III at pp. 11, 15 ¶¶ 16, 20.) Estrada had struck a

        deal to sell a kilogram of heroin to a local distributor for

        $68,000.00, and was pressed to find a new supplier who could

        quickly fill that order. (Id. at pp. 27-28, Sanders Affid. III at pp.

        15-16 ¶¶ 22, 24.) On March 30, Estrada called Ricardo Ruiz. (Id.
        at pg. 28, Sanders Affid. III at pg. 16 ¶ 24.)

              The drug deal that followed this phone call would mark

        Ruiz’s first active involvement with Estrada in the period since the

        agents began their investigation. Agent Sanders’s earlier affidavits

        made only scant mention of Ruiz, describing him as one of the

        confidential source’s former suppliers. (See Attach. 2 at pg. 20,

        Sanders Affid. II at pg. 10 ¶¶ 19-20.) This was not, however, the

        first time that law enforcement officers had come across Ruiz. He

        had been a peripheral subject in several other drug trafficking

        investigations in recent years. In early 2014, for instance, a

        confidential source told FBI agents that Ruiz was working with

        Jesus Artiaga, someone the Bureau suspected was selling large
        amounts of methamphetamine in Louisville. (Attach. 3 at pg. 26,

        Sanders Affid. III at pg. 24 ¶ 46.) As part of that investigation,

        officers installed a pole camera outside Ruiz’s home. (Id. at pg. 36,

        Sanders Affid. III at pg. 24 ¶ 47.) Later in 2014, DEA agents

        arrested another drug seller with Mexican connections, Pablo

        Vega-Morata, and learned that Ruiz had been one of Vega-Morata’s

        local buyers. (Id. at pp. 24, 34, Sanders Affid. III at pp. 12, 22




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        ¶¶ 16, 37.) In early 2015, prompted by Vega-Morata’s arrest, a

        Louisville dealer (later the confidential source in the Estrada case)

        made two drug purchases from Ruiz. (Attach. 2 at pp. 19-20,

        Sanders Affid. II at pp. 9-10 ¶¶ 18-21.) In early 2016, FBI agents

        tapped the phone of yet another major drug dealer, Rolando Matos,

        and heard him talk with Ruiz about a possible heroin purchase.

        (Attach. 3 at pg. 35, Sanders Affid. III at pg. 23 ¶ 45.) In February

        2016, FBI agents installed a location-tracker on Ruiz’s car, but had

        not yet gleaned much useful information from the device. (Id. at
        pp. 43, 47, Sanders Affid. III at pp. 31, 36 ¶¶ 71, 78.)

              Estrada and Ruiz arranged and consummated their deal

        within the space of a few hours on March 30. After receiving

        Estrada’s call, Ruiz contacted “Tony” (probably Antonio Ledesma, a

        source in Mexico for both men) and called Estrada back to confirm

        he could handle the deal. (Attach. 3 at pg. 30, Sanders Affid. III at

        pg. 18 ¶ 25.) Within a few hours, officers watching Estrada’s

        house saw Ruiz arrive; when Estrada left, other officers followed
        him on a round trip to the buyer’s house and back home; Ruiz left

        shortly after Estrada returned and, with DEA agents in tail, drove

        to his Louisville residence. (Id. at pp. 32-33, Sanders Affid. III at

        pp. 20-21 ¶¶ 27-31.) This sequence of movements suggested that

        Ruiz had brought the drugs to Estrada’s home; while Ruiz waited,

        Estrada delivered the package to his buyer, collected the purchase

        money, and returned; after Estrada and Ruiz split the funds, Ruiz




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        departed. (Ibid.) (The DEA agents surmised that Estrada required

        these elaborate maneuvers so his buyer and supplier would not

        learn the other’s identity. (Id. at pg. 40, Sanders Affid. III at pg. 28

        ¶ 63.)) Toll records for Ruiz’s phone showed that Ruiz had been in

        frequent contact during the month of March with Estrada and two

        drug sources in Mexico, Artiaga and Ledesma. (Id. at pg. 35, 37-
        38, Sanders Affid. III at pp. 23, 25-26 ¶¶ 40, 50-57.)

        (3)(A) The third wiretap application (Ruiz, April 8, 2016)
              Almost as soon as Estrada and Ruiz executed their March 30

        deal, the government was back to ask the Court for another

        wiretap, this time on two of Ruiz’s phones. (Attach. 3, records for

        WT 16-9 (Sanders “Affidavit III,” wiretap on “Target Telephones 2,
        3, and 4”).) The Court approved the request on April 8.

              The investigation’s center of gravity now shifted toward Ruiz.
        This, in turn, brought Mr. Gonzalez into the agents’ view.

        (3)(B) Ruiz buys drugs from Ismael Gonzalez (April 20, 2016)
              With DEA agents eavesdropping on Ruiz by means of the
        third wiretap, he called Ismael Gonzalez on April 20. (Attach. 4 at

        pg. 24, Sanders Affid. IV at pg. 14 ¶ 23.) The agents had not heard

        anything noteworthy about Mr. Gonzalez for at least nine months;

        their most recent information came from a source in July 2015,

        who said he had bought methamphetamine from Mr. Gonzalez for

        two years starting in 2013. (Id. at pg. 23, Sanders Affid. IV at




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        pg. 13 ¶ 18.) Mr. Gonzalez had been arrested for trafficking in
        April 2015; this case was still pending when Ruiz called him.

              Ruiz told Mr. Gonzalez on April 20 that he wanted to buy a

        pound of methamphetamine; Mr. Gonzalez said he could have one

        for $6,500.00. (Ibid.) The men quickly worked out a strategy for

        the drug transfer: Ruiz would be given directions to a particular

        location and, upon arrival, would find an unoccupied vehicle

        waiting with the methamphetamine hidden inside. (Id. at pp. 25-

        26, Sanders Affid. IV at pp. 15-16 ¶¶ 24-26.) Within a few hours,

        Mr. Gonzalez told Ruiz to meet him at an auto repair business in

        Louisville, and Ruiz – followed by DEA agents – drove to the spot.

        (Id. at pg. 27-28, Sanders Affid. IV at pp. 17-18 ¶¶ 27-31.) While

        Ruiz was en route, Mr. Gonzalez informed him that there would be

        two pounds of methamphetamine that day, for $11,500.00. (Ibid.)

        Agents tracked Ruiz to the repair shop and, after a short wait,

        watched him leave; the agents followed him in traffic as long as

        they could, but lost sight of him. (Id. at pg. 28, Sanders Affid. IV at
        pg. 18 ¶ 31.) A few hours later, agents listened on the phone as

        Ruiz told Mr. Gonzalez that he had arrived at the staging location

        and had found the two-pound package in the vehicle. (Id. at pg.
        28, Sanders Affid. IV at pg. 18 ¶ 32.)

              The following day, Ruiz was on the phone with Mr. Gonzalez

        again, this time setting up a meeting at a gas station in

        Jeffersonville, Indiana. (Attach. 4 at pg. 29, Sanders Affid. IV at




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        pg. 19 ¶ 33.) Investigators put the site under watch and, after

        Mr. Gonzalez and Ruiz met, the agents followed the two men as

        they drove to a yacht service business where Mr. Gonzalez was

        believed to keep a large boat. (Ibid. and id. at pg. 35, Sanders

        Affid. IV at pg. 25 ¶ 49.) The agents took note that Mr. Gonzalez

        was driving a silver Chevrolet Impala with temporary registration.
        (Id. at pg. 39, Sanders Affid. IV at pg. 29 ¶ 56.)

              On April 22, investigators obtained a state court order for

        geo-location data from Mr. Gonzalez’s phone. (Attach. 4 at pg. 39,

        Sanders Affid. IV at pg. 29 ¶ 57.) With this information, agents

        deduced that Mr. Gonzalez resided somewhere within a one-mile

        radius inside Jeffersontown, though they could not pin down an

        exact address. (Ibid.) They also performed periodic drive-by

        surveillance of an Outer Loop garage where, according to the

        source in July 2015, Mr. Gonzalez had stored drugs; these efforts

        had not yet produced results, and the agents were unsure if

        Mr. Gonzalez had any affiliation with the place. (Id. at pg. 23, 32,
        35, Sanders Affid. IV at pp. 13, 22, 25 ¶¶ 18-20, 43, 50.)

              There was one more phone call between Ruiz and

        Mr. Gonzalez, on April 24. (Attach. 4 at pg. 29, Sanders Affid. IV at

        pg. 19 ¶ 34.) The two men discussed a potential transfer of twenty

        kilograms of methamphetamine from Mr. Gonzalez to Ruiz for a

        price of $12,000.00 per kilogram, but they did not make specific
        plans for the date and place of the transaction. (Ibid.)




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              On May 3 – less than two weeks after Mr. Gonzalez’s first

        appearance in the investigation – the government sought
        permission to tap his phone.

        (4)(A) The fourth wiretap application (Gonzalez, May 3, 2016)
              This wiretap is the subject and starting point of Ms.

        Johnson’s motion to suppress. She is one of the people whose

        conversations with Mr. Gonzalez were recorded after the agents

        began eavesdropping on Mr. Gonzalez’s phone (see, e.g., Attach. 6

        at pp. 27, 30, 35, 37, 44, Sanders Affid. VI at pp. 16, 19, 24, 26,

        33 ¶¶ 19, 26, 38, 41, 52); this gives her standing to challenge the

        legality of this wiretap and its later extensions and offshoots.

        18 U.S.C. §§ 2510(11) and 2518(10)(a); United States v. Asker,

        No. 15-1832, 676 Fed. Appx. 447, 454-455 (6th Cir. Jan. 18, 2017)
        (citing United States v. Cooper, 868 F.2d 1505, 1509 (6th Cir. 1989).

        (4)(B) The necessity mandate
              The question in this case is whether the affidavit supporting

        the request for a wiretap on Mr. Gonzalez’s phone satisfied the

        “necessity” requirement: that is, whether it provided “a full and

        complete statement as to whether or not other investigative

        procedures have been tried and failed or why they reasonably

        appear to be unlikely to succeed if tried, or to be too dangerous.”

        18 U.S.C. § 2518(1)(c). When deciding this question, “[o]nly the

        evidence presented within the four corners of the wiretap

        application can be used….” United States v. Gonzalez, Inc., 412




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        F.3d 1102, 1112 (9th Cir 2005) (citing 18 U.S.C. § 2518(3)(c)). The

        wiretap rules are to be narrowly construed, id. at 1110, and strict

        compliance is mandatory. United States v. Alfano, 838 F.2d 158,

        161 (6th Cir. 1988). A court must exclude any intercepted call, and

        all “evidence derived therefrom,” if it finds that the communication
        “was unlawfully intercepted.” §§ 2515, 2518(10)(a).

              The necessity mandate is “designed to assure that

        wiretapping is not resorted to in situations where traditional

        investigative techniques would suffice to expose the crime.” United

        States v. Kahn, 415 U.S. 143, 153 n.12 (1974). The government

        has a “responsibility to use promising traditional techniques”

        before it can qualify for permission to eavesdrop, Gonzalez, Inc.,

        412 F.3d at 1113; law enforcement officers must “first attempt,

        without success, traditional methods that may have been

        ‘potentially productive.’” Id. at 1114 (quoting United States v.

        Ippolito, 774 F.2d 1482, 1484 (9th Cir. 1985)). While the

        government “need not exhaust every conceivable investigative
        technique,” it must at least demonstrate that “ordinary

        investigative techniques employing a normal amount of resources

        have failed to make the case within a reasonable period of time.”

        United States v. Bennett, 219 F.3d 1117, 1122 (9th Cir. 2000)

        (citations omitted). It is only when “the government has used

        normal techniques but … has encountered difficulties in

        penetrating a criminal enterprise or in gathering evidence” that the




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        balance between individual privacy and law enforcement shifts “to

        the point where (given the statutory preference for less intrusive

        techniques) wiretapping becomes reasonable.” United States v.
        Abou-Saada, 785 F.2d 1, 11 (1st Cir. 1986).

              If ordinary investigative techniques have not already been

        attempted without success, the necessity test calls for proof that

        they “reasonably appear to be unlikely to succeed if tried, or to be

        too dangerous.” § 2518(1)(c). “Such a showing must allege specific

        circumstances that render normal investigative techniques

        particularly ineffective,” a Ninth Circuit case advised, “to prevent

        the government from making general allegations about classes of

        cases and thereby sidestepping the requirement that there be

        necessity in the particular investigation in which a wiretap is

        sought.” Ippolito, 774 F.2d at 1486. “[A] purely conclusory affidavit

        unrelated to the instant case and not showing any factual relations

        to the circumstances at hand would be, in our view, an inadequate

        compliance with the statute,” wrote the Sixth Circuit: “What is
        required in addition … is information about particular facts of the

        case at hand which would indicate that wiretaps are not being

        ‘routinely employed as the initial step in criminal investigation.’”

        United States v. Landmesser, 553 F.2d 17, 20 (6th Cir. 1977)
        (quoting United States v. Giordano, 416 U.S. 505, 515 (1974)).

              A reasonable standard be employed for measuring necessity.

        The government cannot properly “claim[] a vast investigative




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        purpose” – for example, to gather all “the evidence necessary to

        identify all the participants in this [drug] trafficking organization…”

        – and thereby “cast its investigative net so far and so wide as to

        manufacture necessity in all circumstances.” United States v.

        Blackmon, 273 F.3d 1204, 1211 (9th Cir. 2001). “Doing so would

        render the requirements of § 2518 nullities,” the Blackmon court
        said. Ibid.

              One last principle applies with particular force in our case.

        “[T]he government is not free to transfer a statutory showing of

        necessity from one application to another – even within the same

        investigation.” Gonzalez Inc., 412 F.3d at 1115. “Each wiretap

        application must separately satisfy the necessity requirement.”

        Ibid. Thus “[a] suspicion that a person is a member of a

        conspiracy … is not a sufficient reason to obtain a wiretap.” United

        States v. Carneiro, 861 F.2d 1171, 1181 (9th Cir. 1988). “Less

        intrusive investigative procedures may succeed with one putative

        participant while they may not succeed with another.” United
        States v. Santora, 600 F.2d 1317, 1321 (9th Cir. 1979) (quoting
        United States v. Abascal, 564 F.2d 821, 826 (9th Cir. 1977).

              The government’s application for a wiretap on Mr. Gonzalez’s

        phone did not abide this rule. On the contrary, this was a hair-

        trigger wiretap request, based almost entirely on what agents

        heard on Ruiz’s phone and saw on April 20 and 21. Agents did not

        devote genuine effort to learning more about Mr. Gonzalez via




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        ordinary investigative methods. Rather, the government employed

        a specious “cascading theory of necessity,” see United States v.

        Garcia-Villalba, 585 F.3d 1223, 1231-1232 (9th Cir. 2009): instead

        of directing particularized investigative actions against

        Mr. Gonzalez, the government sought merely to transplant prior

        showings of necessity for the Estrada and Ruiz wiretaps onto the
        new terrain of the Gonzalez investigation.

        (4)(C) The government’s application failed to demonstrate that
               a wiretap on Mr. Gonzalez’s phone was a necessity
              The wiretap on Ruiz had very quickly begun to yield

        incriminating statements by Mr. Gonzalez, and investigators

        supplemented their eavesdropping with traditional surveillance to

        track the actions of the two men during the April 20 drug

        transaction. The Ruiz wiretap had, in short, been devastatingly

        effective against Mr. Gonzalez in just its first few weeks of

        operation. Considered as an investigative technique the agents

        could continue to command in their operations against

        Mr. Gonzalez, the Ruiz wiretap certainly had not exhausted its

        usefulness. Indeed, that wiretap was so new that investigators had

        hardly begun to exploit it, let alone exhaust it; the Ruiz wiretap’s

        immediate productivity gave every indication that it would continue
        to generate useful evidence for some time to come.

              As of April 2016, Mr. Gonzalez had been off the investigators’

        radar for many months. In some contexts, a long empty stretch of




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        this kind might indicate that ordinary investigative techniques

        were incapable of penetrating the suspect’s defenses. Not here,

        though; the agents had not uncovered anything new about

        Mr. Gonzalez because they hadn’t been looking for anything new

        for many months. When events on April 20 spurred the agents

        into action, though, they were able quickly to learn the make,

        model, and registration number of the automobile Mr. Gonzalez

        was driving; they knew that a particular auto repair business in

        town had played (and might continue to play) a facilitating role in

        Mr. Gonzalez’s activities; they began spot checks of a building that

        Mr. Gonzalez had reportedly used for drug storage in the past; they

        started collecting and analyzing geo-location data from

        Mr. Gonzalez’s phone; and they began scrutinizing Mr. Gonzalez’s

        toll records. These traditional investigative techniques had not

        produced a great deal of evidence, but they had only been in use

        for thirteen days when the government sought its wiretap on

        Mr. Gonzalez. The modest yield of these ordinary detection tools
        indicated only that they needed more time to work, not that they

        had “been tried and failed” or they were “reasonably … unlikely to
        succeed if tried.”

              The government’s evidence that a wiretap on Mr. Gonzalez

        was a “necessity” thus consisted of a catalogue of the inherent

        limitations of each traditional investigative technique, rather than

        a demonstration that the techniques had already failed in




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        application or that they could not generate any useful information.
        Consider these examples:

              Use of confidential sources: “The LDO [Louisville District

        Office of the DEA] has had no success introducing Confidential

        Sources or Undercover Officers into the Gonzalez DTO,” Agent

        Sanders’s affidavit reports. (Attach. 4 at pg. 32, Sanders Affid. IV

        at pg. 22 ¶ 42.) Such efforts in the past had borne fruit, of course:

        the confidential source in July 2015 had shown that people close

        to Mr. Gonzalez could be persuaded to divulge highly incriminating

        information about his operations. (See ibid.) The affidavit’s silence

        about new efforts to contact their prior confidential source or to

        develop a new source demonstrates only that the investigators had

        not tried to do these things. The affidavit primarily offers a

        despairing critique of the typical drug trafficker’s reluctance to

        “divulge other members of the DTO locally or his source of supply,

        especially to someone relatively unknown to them,” and laments

        that confidential sources therefore cannot always “identify[] the full
        scope of the DTO, its members and methods, … sources of supply,

        distribution routes, cell heads, other local distributors, and similar

        information….” (Id. at pg. 33, Sanders Affid. IV at pg. 23 ¶ 44.)

        Given the paucity of effort devoted thus far to currying a

        confidential source, and given that a confidential source could

        surely provide at least some useful information about Mr. Gonzalez

        (if, granted, not everything an investigator would want to know),




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        the affidavit rings hollow when it declares categorically that “[t]here

        is no indication that intelligence regarding the DTO would improve

        minus the interception” of Mr. Gonzalez’s phone calls. (Id. at pg.
        32, Sanders Affid. IV at pg. 22 ¶ 43.)

              Physical surveillance: Agent Sanders’s affidavit recounts

        the surveillance efforts in the two weeks preceding the new wiretap

        request, including the observation of two meetings between

        Mr. Gonzalez and Ruiz, a temporary shadowing of Mr. Gonzalez’s

        car in traffic, and several passes by a suspected storage facility.

        (Attach. 4 at pp. 34-35, Sanders Affid. IV at pp. 24-25 ¶¶ 48-50.)

        The affidavit did not report that Mr. Gonzalez had actually spotted

        any of these investigative efforts; nevertheless, the affidavit insisted

        that “it is extremely difficult to conduct surveillance of major drug

        traffickers over an extended period of time without detection.” (Id.

        at pg. 35, Sanders Affid. IV at pg. 25 ¶ 51.) The affidavit drew an

        unfavorable comparison between surveillance as a stand-alone

        technique and surveillance enhanced by a wiretap: the former can
        “confirm meetings and other suspected activities,” but generally

        cannot “prove the purpose of the meetings and other activities;”

        with the help of eavesdropping on the suspect’s phone calls,

        though, surveillance efforts provide “valuable proof of the criminal

        activities involved.” (Ibid.) Considered in isolation, “physical

        surveillance is unlikely to establish conclusively the roles of the

        named conspirators or to identify additional conspirators,” Agent




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        Sanders wrote, and “[e]ven if DEA engaged in further surveillance,

        it is unlikely that the surveillance alone would accomplish the goal

        of this investigation.” (Id. at pg. 36, Sanders Affid. IV at pg. 26
        ¶¶ 52-53.)

              Toll analysis: Mr. Gonzalez’s toll records had already

        disclosed the telephone number of a key collaborator, but Agent

        Sanders’s affidavit complained that toll information does not

        provide evidence “as to the substance of the conversations, or any

        certainty as to the exact identities of the actual conversants of the

        captured telephone calls.” (Attach. 4 at pg. 37, Sanders Affid. IV at

        pg. 27 ¶ 54.) The affidavit also observed that subscriber

        information for particular phone numbers is often undependable –

        users do not always provide their true names and addresses when

        acquiring phones, and sometimes these details are missing

        altogether. (Ibid.) The affidavit says in this regard that “[t]o date,

        the LDO has received no accurate subscriber information for

        numbers in contact with” Mr. Gonzalez’s phone (ibid.), but this
        leaves many mysteries – for instance: had the investigators even

        asked for subscriber information yet? The affidavit doesn’t say so,

        and it might reasonably be doubted: after all, Mr. Gonzalez’s toll

        records had not been requested until April 25, barely a week before

        the affidavit was written. (See id. at pg. 29, Sanders Affid. IV at pg.

        19 ¶ 35.) Had the investigators gathered subscriber information

        for every phone number on Mr. Gonzalez’s toll records (there were




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        2,403 calls listed) and confirmed that every single account had

        false names and addresses? The affidavit doesn’t say so, and it

        seems highly unlikely that the agents had done so much in so little

        time (or if they had, that the affidavit should omit all mention of it);

        nevertheless, that is what the affidavit suggests when it says
        investigators had “received no accurate subscriber information.”

              Other investigative techniques: The narrative conventions

        seen in the prior sections repeat themselves with regularity

        throughout the rest of the affidavit: each new investigative

        procedure is dismissed because it hadn’t paid dividends yet or

        because it could not provide conclusive and all-encompassing

        proof of anyone’s guilt. The affidavit says that the installation of a

        tracking device on Mr. Gonzalez’s car “has not been implemented,”

        for instance, because officers had not “been able to locate Gonzalez

        with any regularity” (Attach. 4 at pg. 39, Sanders Affid. IV at pg. 29

        ¶ 56) – but agents had already followed Mr. Gonzalez as he drove a

        white Impala with a temporary tag, and it had been only eleven
        days since they first observed the vehicle. Geo-location tracking

        data from Mr. Gonzalez’s phone was being fed to investigators, and

        had already confirmed that Mr. Gonzalez maintained a residence in

        Jeffersontown, but “this … data has been of little value,” the

        affidavit protests, “as the variance of this information has been

        upwards of 1800 meters….” (Id. at pg. 39, Sanders Affid. IV at pg.

        29 ¶ 57.) There had been no trash searches attempted because




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        investigators hadn’t yet determined Mr. Gonzalez’s home address.

        (Id. at pg. 40, Sanders Affid. IV at pg. 30 ¶ 61.) The affidavit was

        pessimistic that the technique would ever work, because “many

        high level drug traffickers … go to great lengths” to avoid keeping

        incriminating evidence close to home (id. at pg. 41, Sanders

        Affid. IV at pg. 31 ¶ 62); but, given the failure thus far to find

        Mr. Gonzalez’s residence, there was no concrete indication that he
        had the same habits as “many high level drug traffickers.”

                                        *****
              The Supreme Court long ago warned that “[f]ew threats to
        liberty exist which are greater than that posed by the use of
        eavesdropping devices.” United States v. Berger, 388 U.S. 41, 63
        (1967). The necessity requirement “is the keystone of congressional
        regulation of electronic eavesdropping,” United States v. Carter, 449
        F.3d 1287, 1292 (D.C. Cir. 2006); the rule “evince[s] [Congress’s]
        clear intent to make doubly sure that the statutory authority be used
        with restraint and only where the circumstances warrant the
        surreptitious interception of wire and oral communications.” United
        States v. Giordano, 416 U.S. 505, 515 (1974). The government
        violated the rule in this case, and Ms. Johnson asks the Court to
        suppress the illegally-intercepted communications and all evidence
        derived from those communications.




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                                       Respectfully submitted,

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                              CERTIFICATE OF SERVICE

              On July 21, 2017, I electronically filed this document

        through the ECF system, which will send a notice of electronic

        filing to counsel of record.


                                       Michael R. Mazzoli
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